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SOUTHERN DISTRICT OF MISSISSIPPI

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IN THE UNITED STATES DISTRICT COURT AUG -8 2015
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI, ‘cen ORRTON
JACKSON DIVISION ey PUY

  

ENDURANCE AMERICAN SPECIALTY
INSURANCE COMPANY PLAINTIFF

VS. CIVIL ACTION NO. 3:14cy54- DPFEKB

U.S. CONSOLIDATED, INC., U.S.
CONSOLIDATED GROUP LLC AND CITY
OF JACKSON, MISSISSIPPI DEFENDANTS

COMPLAINT FOR DECLARATORY JUDGMENT

Plaintiff, Endurance American Specialty Insurance Company (“Endurance”), files this its

Complaint for Declaratory Judgment, and would respectfully show unto the court the following:
I. NATURE OF ACTION
l.

This is a civil action for a declaratory judgment arising from Endurance’s issuance of a
contract for liability insurance to the Named Insured, U.S. Consolidated, Incorporated, policy
number CBP10000280601, for the policy periods of May 9, 2014 to May 9, 2015, May 9, 2015 to
May 9, 2016, and May 9, 2016 to May 9, 2017 (the “Policy”). True and correct copies of the
Policy for each of the policy periods are attached hereto as Exhibits “A,” “B,” and “C,” and the
terms thereof are incorporated by reference herein.

2.

Endurance seeks a declaration that the Policy provides no coverage for the claims made in

the underlying civil action filed on June 11, 2019, in Hinds County, Mississippi, by the City of

Jackson (the “City”) against Siemens Industry, Inc., Siemens Corporation, Siemens AG, Chris

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McNeil, U.S. Consolidated, Inc., U.S. Consolidated Group LLC, M.A.C. & Associates, LLC,
Ivision IT Consultants LLC, Garrett Enterprises Consolidated, Inc., and John Does 1-10, Cause
No. 19-375 (the “Suit”). Exh. “D.” Because the Policy provides no coverage for the claims
asserted in the Suit, Endurance is entitled to a declaratory judgment that it has no duty to defend
the Suit and no duty to indemnify any party for any damages that may be awarded in the Suit.
I. THE PARTIES
3.

Endurance is a corporation organized and existing under the laws of the State of Delaware
with its principal place of business in the State of New York and is duly licensed to sell insurance
in Mississippi by the Mississippi Insurance Department.

4,

U.S. Consolidated, Inc. is a Mississippi corporation with its principal place of business in
Hinds County, Mississippi, and may be served through its registered agent, Tom Wallace, 939
Royal Oak Drive, Jackson, Mississippi, 39206 or wherever Mr. Wallace may be found.

5.

U.S. Consolidated Group LLC is a Mississippi limited liability company doing business in
the State of Mississippi with its principal place of business in Hinds County, Mississippi, and may
be served through its registered agent, Tom Wallace, 939 Royal Oak Drive, Jackson, Mississippi,
39206 or wherever Mr. Wallace may be found. The members of U.S. Consolidated Group LLC
are citizens of Mississippi.

6.

The City is a municipal corporation organized and existing under the laws of the State of

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Mississippi.
Ill. JURISDICTION AND VENUE
7.

This Court has jurisdiction of this action pursuant to 28 U.S.C. §1332, as the matter in
controversy is between citizens of different states and the value in controversy, exclusive of
interest and costs, exceeds $75,000.

8.

Venue in proper in this district pursuant to 28 U.S.C. §1391(b) because the defendants
reside in this judicial district and a substantial part of the events giving rise to the claim occurred
in this district.

9.

Plaintiff is entitled to declaratory relief in accordance with 28 U.S.C. §2201 and Federal
Rule of Civil Procedure 57.

IV. UNDERLYING CLAIMS
10.

The City filed the Suit on June 11, 2019. A true and correct copy of the Complaint is

attached hereto as Exhibit “D” and incorporated by reference herein.
11.

The Suit alleges that the City entered into a contract with Siemens Industry, Inc., Siemens
Corporation, and/or Siemens AG (collectively ‘““Siemens”) on or about January 30, 2013 for the
upgrade of the City’s water system. The Suit alleges that a “massive fraud” was perpetrated against

the City with respect to the installation of the new automated water meter and billing system and

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the repair of the City’s water treatment plants and sewer lines. The City alleges that it has sustained
more than $225 million in losses.
12.

The City alleges that Siemens utilized a “bait-and-switch” or “pass-through” scheme to
artificially inflate the number of minority-owned businesses which would be utilized in the subject
project for purposes of manipulating the project’s Equal Business Opportunity (“EBO”) plan
requirements.

13,

As part of the alleged “bait-and-switch” or “pass-through” scheme, the City allegedly
engaged U.S. Consolidated and/or U.S. Consolidated Group LLC to supply the water meters for
the project. U.S. Consolidated allegedly received approximately $19.5 million for its work on the
water project. However, the Suit alleges U.S. Consolidated was simply a “pass-through entity
involved in the supply of water meters on paper only.” The Suit alleges that U.S. Consolidated
bought the water meters from the manufacturer, Mueller Systems, and then sold the meters to
Siemens at a marked-up price for installation by a subcontractor. Siemens and U.S. Consolidated
allegedly conspired “to funnel the meters to Siemens as part of a fraudulent EBO scheme, all at an
increased cost to the City.” Exh. “D,” 936.

14.

The Suit alleges that the subject project was “plagued by technical problems from the start,”
including the incorrect installation of more than half of the 60,000 water meters and the installation
of water meters that did not satisfy the required specifications, causing delays in the project and

problems with accurately measuring and billing for water usage. The Suit alleges that the “entire

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project was delayed in early 2015 when the City discovered that Siemens had installed meters that
read in gallons instead of the appropriate cubic-feet reading.” Exh. “D,” 941.
15.

The Suit alleges that U.S. Consolidated was “not qualified to perform the work” that it was
hired to perform. The Suit alleges that the work and materials furnished by U.S. Consolidated and
other entities were “defective and contributed to the numerous technical problems with the
Siemens water system that continue to this day.” Exh. “D,” 43.

16.

The Suit pleads causes of action for Fraud and Fraud in the Inducement, Negligent
Misrepresentation, Civil Conspiracy, Negligence, Breach of Implied Warranty of Good
Workmanship, Unjust Enrichment, Breach of Contract, Breach of Covenant of Good Faith and
Fair Dealing, and Agent and Alter Ego Liability. The only causes of action aimed at U.S.
Consolidated are Civil Conspiracy, Negligence, and Unjust Enrichment. Exh. “D.”

17.

Under Count Three ~ Civil Conspiracy, the Suit alleges that U.S. Consolidated conspired
with Siemens and a former Siemens employee, Chris McNeil, to accomplish unlawful purposes or
lawful purposes by unlawful means, including the alleged “fraudulent EBO pass-through scheme.”
Exh. “D,” 956.

18,

Under Count Four — Negligence, the Suit alleges that U.S. Consolidated and other

defendants breached duties to the City in connection with the materials and services provided,

including the sale and installation of the new water meters, the implementation of the new water

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billing system, and the repairs to the City’s sewer lines and water treatment plants. U.S.
Consolidated and other defendants allegedly failed to provide adequate services and materials and
allegedly failed to furnish and install a water meter and billing system that was free of defects and
that worked correctly. Exh. “D,” 63.

19.

Under Count Six — Unjust Enrichment, the Suit alleges that U.S. Consolidated and the other
defendants have been unjustly enriched by committing the various acts and torts alleged in the
Suit. Exh. “D,” 469.

20.

The Suit seeks damages in excess of $225 million in actual and consequential damages,
which includes more than $150 million for the alleged cost of funding the subject project, more
than $75 million for alleged lost revenue and damage to the City’s creditworthiness and reputation,
and several million dollars for the estimated cost to repair and manage the malfunctioning water
meter system. The Suit also seeks punitive and exemplary damages due to alleged fraud, malice,
and gross negligence.

THE ENDURANCE POLICY
21.

Subject to various terms, conditions, and exclusions, the Policy issued by Endurance gives
it the right and duty to defend U.S. Consolidated, Inc. against any suit seeking damages to which
the insurance provided by the Policy applies.

22.

The Insuring Agreement of Coverage A of the Policy states, in pertinent part:

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SECTION I - COVERAGES

COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY

1. Insuring Agreement

a. We will pay those sums that the insured be-comes legally
obligated to pay as damages because of "bodily injury" or
"property damage" to which this insurance applies. We will
have the right and duty to defend the insured against any
"suit" seeking those damages. However, we will have no
duty to defend the insured against any "suit" seeking
damages for "bodily injury" or "property damage” to which
this insurance does not apply. We may, at our discretion,
investigate any "occurrence" and settle any claim or "suit"
that may result. But:

(1) The amount we will pay for damages is
limited as described in Section III - Limits Of
Insurance; and

(2) Our right and duty to defend ends when we
have used up the applicable limit of insurance
in the payment of judgments or settlements
under Coverages A or B or medical expenses
under Coverage C.

No other obligation or liability to pay sums or perform acts or
services is covered unless explicitly provided for under
Supplementary Payments - Coverages A and B.

b. This insurance applies to "bodily injury" and "property damage"
only if:

(1) The "bodily injury" or "property damage" is caused
by an "occurrence" that takes place in the "coverage
territory";

(2) The "bodily injury" or "property damage" occurs
during the policy period; and

(3) Prior to the policy period, no insured listed under
Paragraph 1. of Section II - Who Is An Insured and
no "employee" authorized by you to give or receive
notice of an "occurrence" or claim, knew that the
"bodily injury" or "property damage" had occurred,
in whole or in part.

23.

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Coverage A contains the following exclusions that are or may be applicable:
2. Exclusions
This insurance does not apply to:

a. Expected Or Intended Injury

"Bodily injury” or "property damage" expected or
intended from the standpoint of the insured. This
exclusion does not apply to "bodily injury" resulting
from the use of reasonable force to protect persons or

property.

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k. Damage To Your Product
"Property damage" to "your product" arising out of it or any part of
it.

1. Damage To Your Work
"Property damage" to "your work" arising out of it or
any part of it and included in _ the
“products-completed operations hazard".
This exclusion does not apply if the damaged work
or the work out of which the damage arises was
performed on your behalf by a sub-contractor.

m. Damage To Impaired Property Or Property Not Physically Injured
"Property damage" to "impaired property" or
property that has not been physically injured, arising
out of:

(1) A defect, deficiency, inadequacy or
dangerous condition in “your product” or
"your work"; or

(2)  Adelay or failure by you or anyone acting on
your behalf to perform a contract or
agreement in accordance with its terms.

This exclusion does not apply to the loss of use of

other property arising out of sudden and accidental

physical injury to "your product" or "your work"

after it has been put to its intended use.

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n. Recall Of Products, Work Or Impaired Property
Damages claimed for any loss, cost or expense
incurred by you or others for the loss of use,
withdrawal, recall, inspection, repair, re-placement,
adjustment, removal or disposal of:

(1) "Your product";

(2) "Your work"; or

(3) "Impaired property";

if such product, work, or property is withdrawn or
recalled from the market or from use by any person
or organization because of a known or suspected
defect, deficiency, inadequacy or dangerous
condition in it.

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24,
The Insuring Agreement of Coverage B states in pertinent part:
COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY
1, Insuring Agreement

a. We will pay those sums that the insured be-comes legally
obligated to pay as damages because of "personal and
advertising injury" to which this insurance applies. We will
have the right and duty to defend the insured against any
"suit" seeking those damages. However, we will have no
duty to defend the insured against any "suit" seeking
damages for "personal and advertising injury" to which this
insurance does not apply. We may, at our discretion,
investigate any offense and settle any claim or "suit" that
may result. But:

b. This insurance applies to "personal and advertising injury"
caused by an offense arising out of your business but only if
the offense was committed in the "coverage territory" during
the policy period.

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25.
The Policy contains the following definitions that are or may be applicable:
SECTION V - DEFINITIONS

3. "Bodily injury" means bodily injury, sickness or disease
sustained by a person, including death resulting from any of
these at any time.

8. "Impaired property" means tangible property, other than
"your product" or "your work", that cannot be used or is less
useful because:

a. It incorporates "your product" or "your work"
that is known or thought to be defective,
deficient, inadequate or dangerous; or

b. You have failed to fulfill the terms of a
contract or agreement;

if such property can be restored to use by the re-pair,

replacement, adjustment or removal of "your

product" or "your work" or your fulfilling the terms

of the contract or agreement.

13. "Occurrence" means an _ accident, including
continuous or repeated exposure to substantially the
same general harmful conditions.

14. "Personal and advertising injury" means injury, including
consequential "bodily injury”, arising out of one or more of
the following offenses:

a. False arrest, detention or imprisonment;
b. Malicious prosecution;
c. The wrongful eviction from, wrongful entry

into, or invasion of the right of private
occupancy of a room, dwelling or premises
that a person occupies, committed by or on
behalf of its owner, landlord or lessor;

d. Oral or written publication, in any manner, of
material that slanders or libels a person or
organization or disparages a person's or
organization's goods, products or services;

e. Oral or written publication, in any manner, of
material that violates a person's right of
privacy;

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f. The use of another's advertising idea in your
"advertisement"; or
g. Infringing upon another's copyright, trade

dress or slogan in your “advertisement”.

16. _"Products-completed operations hazard":

a. Includes all "bodily injury" and "property
damage" occurring away from premises you
own or rent and arising out of “your product"
or "your work" except:

(1) Products that are still in your physical
possession; or

(2) Work that has not yet been completed or
abandoned. However, "your work" will be
deemed completed at the earliest of the
following times:

(a) When all of the work called
for in your contract has been
completed.

(b) | When all of the work to be
done at the job site has been
completed if your contract calls for
work at more than one job site.

(c) When that part of the work
done at a job site has been put to its
intended use by any person or
organization other than another
contractor or subcontractor working
on the same project.

Work that may _ need = service,
maintenance, correction, repair or
replacement, but which is otherwise
complete, will be treated as
completed.

b. Does not include "bodily injury" or "property damage"

arising out of:

(1) The transportation of property, unless the
injury or damage arises out of a condition in
or on a vehicle not owned or operated by you,
and that condition was created by the
"loading or unloading" of that vehicle by any
insured;

(2) The existence of tools, uninstalled equipment

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or abandoned or unused materials; or

(3) Products or operations for which the
classification, listed in the Declarations or in
a policy schedule, states that products-
completed operations are subject to the
General Aggregate Limit.

17. "Property damage" means:

a. Physical injury to tangible property, including all resulting
loss of use of that property. All such loss of use shall be
deemed to occur at the time of the physical injury that caused
it; or b. Loss of use of tangible property that is not physically
injured. All such loss of use shall be deemed to occur at the
time of the "occurrence" that caused it.

As used in this definition, electronic data means information, facts
or programs stored as or on, created or used on, or transmitted to or
from computer software, including systems and applications
software, hard or floppy disks, CD-ROMS, tapes, drives, cells, data
processing devices or any other media which are used with
electronically controlled equipment.

21. "Your product":
a. Means:
(1) Any goods or products, other
than real property,

manufactured, sold, handled,
distributed or disposed of by:
(a) You;

(b)Others trading

under your name; or

(c) A person or
organization whose
business or assets you

have acquired; and

(2) Containers (other than
vehicles), materials, parts or
equipment furnished in
connection with such goods or
products.

b. Includes:

(1) Warranties or representations
made at any time with respect
to the fitness, quality,
durability, performance or use

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of "your product"; and
(2) The providing of or failure to

provide warnings or
instructions,
C. Does not include vending machines or other
property rented to or located for the use of others but
not sold.
22. "Your work":
a. Means:
(1) Work or operations
performed by you or on your behalf;
and

(2) Materials, parts or equipment
furnished in connection with such
work or operations.

b. Includes:
(1) Warranties or representations
made at any time with respect to the
fitness, quality, durability,
performance or use of "your work",
and
(2) The providing of or failure to
provide warnings or instructions.

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26.
The Policy contains an endorsement titled “Punitive, Treble or Exemplary Damages
Exclusion,” which states, in pertinent part:

It is hereby agreed that this policy shall not apply to a claim of, or
indemnification for, punitive, treble or exemplary damages. Ifa “suit” shall
have been brought against the insured for any claim falling within the
coverage provided under the policy, seeking both compensatory and
punitive, treble or exemplary damages, then we will afford a defense to such
action. In no event, however, shall we have an obligation to pay for any
loss, costs, interest, expenses or damages attributable to punitive, treble or
exemplary damages.

27.

The Policy’s “Who Is An Insured” provision states, in pertinent part:

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SECTION II - WHO IS AN INSURED

1. If you are designated in the Declarations as:

d. An organization other than a partnership, joint venture or limited
liability company, you are an insured. Your “executive officers”
and directors are insureds, but only with respect to their duties as
your executive officers or directors. Your stockholders are also
insureds, but only with respect to their liability as stockholders.

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V. DECLARATORY JUDGMENT
28.

Plaintiff repeats and realleges Paragraphs 1 through 27 of this Complaint as if fully set
forth herein.

29,

An actual, substantive, and justiciable controversy exists between the parties concerning
the existence of coverage under the Policy. The parties accordingly have a direct, substantial, and
present interest in a declaratory judgment.

30.

Endurance is entitled to a declaratory judgment that no “bodily injury” is alleged in the
Suit.

31.

Endurance is entitled to a declaratory judgment that no “property damage” is alleged in the
Suit.

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32.

Endurance is entitled to a declaratory judgment that no “occurrence” is alleged in the Suit

and/or that the “Expected Or Intended Injury” exclusion (2.a.) applies to exclude coverage.
33.

Endurance is entitled to a declaratory judgment that, to the extent any “property damage”
is alleged in the Suit, the “Damage To Your Product” exclusion (k.), the “Damage To Your Work”
exclusion (1.), the “Damage To Impaired Property Or Property Not Physically Injured” exclusion
(m.), and/or the “Recall Of Products, Work Or Impaired Property” exclusion apply to exclude any
potential coverage.

34,

Endurance is entitled to a declaratory judgment that there is no coverage under Coverage
B of the Policy because no “personal and advertising injury” is alleged in the Suit, and/or one or
more of the Policy’s Coverage B exclusions would apply to exclude coverage.

35.

Endurance is entitled to a declaratory judgment that there is no coverage to the extent the

Suit alleges any illegal acts which are uninsurable under Mississippi law.
36.

Endurance is entitled to a declaratory judgment that there is no coverage to the extent U.S.
Consolidated, Inc. has failed to comply with any of the terms, conditions, and other provisions of
the Policy.

37.

Additionally and alternatively, Endurance is entitled to a declaratory judgment that U.S.

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Consolidated Group LLC does not qualify as an insured under the Policy and, therefore, is not
entitled to a defense or indemnity from Endurance.
38.

Endurance is entitled to a declaratory judgment that there is no coverage for any alleged

damages that occurred outside of the Endurance policy periods.
39,

Pursuant to the terms, conditions, and exclusions of the Policy, Endurance is entitled to a
declaration that Endurance does not have any defense, indemnity, or other coverage obligations
under the Policy with respect to the Suit for all of the reasons set forth herein.

REQUEST FOR RELIEF

WHEREFORE, Endurance respectfully requests judgment in its favor and against the
defendants herein, and asks that the Court to:

1. Enter judgment in favor of Endurance by declaring that Endurance does not have

any defense or indemnity obligations under the Policy with respect to the Suit;

2. Award to Endurance its attorney fees and costs incurred in connection with this
suit; and
3. Award such other relief as is just and proper, including but not limited to

Endurance's recoverable count costs in this declaratory judgment action.
Respectfully submitted,

ENDURANCE AMERICAN — SPECIALTY
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OF COUNSEY.

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